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 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
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12     ANTHONY BOUYER, an                 Case No. 2:21-cv-00794-PA-PD
13     individual,
14                                            ORDER DISMISSAL WITH
            Plaintiff,                        PREJUDICE
15
       v.
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17     1411 NORTH HOLLYWOOD
       WAY, LLC, a California limited
18     liability company; and DOES 1-
19     10, inclusive,
20          Defendants.
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                                [PROPOSED] ORDER
                            DISMISSAL WITH PREJUDICE
     Case 2:21-cv-00794-PA-PD Document 27 Filed 09/27/21 Page 2 of 2 Page ID #:137


 1         After consideration of the Joint Stipulation for Dismissal of the entire action

 2   with Prejudice filed by Plaintiff Anthony Bouyer (“Plaintiff”) and Great American
 3
     Chicken Corp, Inc (“Defendant”), the Court hereby enters a dismissal with prejudice
 4

 5   of Plaintiff’s Complaint in the above-entitled action, in its entirety. Each party shall

 6   bear his or its own costs and attorneys’ fees.
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 8         IT IS SO ORDERED.
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     DATED: September 27, 2021
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11
                                                   Percy Anderson
12                                         UNITED STATES DISTRICT JUDGE
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                                  [PROPOSED] ORDER
                              DISMISSAL WITH PREJUDICE
